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                      1UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

PATRICK GREER and
TRACEY GREER, Wife,

        Plaintiffs,

vs.                                                          No.     2:21-cv-2474-MSN
                                                                     JURY DEMANDED
WASTE CONNECTIONS OF TENNESSEE,
INC., PATRICK E. WATT and
JOHNS/JANES DOE 1-5,

        Defendants.


                (#16) DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
                 EXPERT TESTIMONY AND REPORT OF PLAINTIFFS’
               NEURORADIOLOGICAL EXPERT, TRAVIS SNYDER, D.O.


        COMES NOW DEFENDANTS, Waste Connections of Tennessee, Inc. and Patrick E.

Watt (“Defendants”), by and through undersigned counsel, and respectfully file this Motion in

Limine to Exclude the Expert Testimony and Report of Plaintiffs’ neuroradiological expert, Travis

Snyder, D.O., pursuant to Rule 26(a)(2) of the Federal Rules of Civil Procedure, and Rules 403

and 702 of the Federal Rules of Evidence.

        In support of the same, Defendants would state and show unto this Honorable Court that

Plaintiffs’ Expert Disclosures, inclusive of Dr. Snyder’s Expert Report, fail to provide a “complete

statement of all opinions” to which Dr. Snyder is expected to testify at trial, in violation of Rule

26(a)(2)(B) of the Federal Rules of Civil Procedure. By virtue of such failure, Defendants are left

to speculate as to the subject matter(s) and scope of Dr. Snyder’s proposed testimony, which is

precisely the outcome that the disclosure requirements of Rule 26 seek to avoid. Defendants would




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submit that such failure and the resulting outcome warrant the exclusion of Dr. Snyder’s “Expert

Report” and any testimony he is expected to offer at trial.

        Even if a “complete statement” of Dr. Snyder’s opinions had been properly disclosed in

accordance with Rule 26, Defendants would submit that the proposed testimony of Dr. Snyder – to

the extent it can be known – is insufficient to withstand scrutiny under Rule 702 of the Federal

Rules of Evidence and the standards set forth by the Supreme Court in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993). Dr. Snyder’s Expert Report contains diverse and, at

times, contradictory findings based on speculative and non-statistically significant data, rendering

Dr. Snyder’s conclusions unreliable and unsupported by the evidence.

        Given the inherently complex nature of the subject matter to which Dr. Snyder is

presumably expected to testify, a mere cursory review of Dr. Snyder’s deposition transcript is

sufficient to readily determine that Dr. Snyder’s testimony is unlikely to help the trier of fact to

understand the evidence or determine a fact in issue. To the extent Dr. Snyder’s testimony is

deemed relevant to this case, its minimal probative value is substantially outweighed by a high

likelihood that its presentation will further confuse already complex issues and mislead the jury.

In addition to resulting in the needless presentation of cumulative evidence and wasting time, these

dangers are sufficiently likely so as to justify a preliminary determination that Dr. Snyder’s

proposed testimony must be excluded from trial.

        For the foregoing reasons, as more fully set forth in the supporting Memorandum of Law

filed contemporaneously herewith, Defendants respectfully request that this Motion be granted,

and that the Court enter an Order excluding Dr. Snyder’s Expert Report and any testimony he is

expected to offer at trial.




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                                                     Respectfully Submitted,

                                                     GORDON REES SCULLY MANSUKHANI, LLP

                                                     /s/ Angel T. Davis
                                                     Angel T. Davis (TN #040676)
                                                     James R. Embrey, Jr. (TN #019370)
                                                     Gordon Rees Scully Mansukhani LLP
                                                     4031 Aspen Grove Drive Ste 290
                                                     Franklin, Tennessee 37067
                                                     Telephone:    (615) 772-9015
                                                     nrainey@grsm.com
                                                     jembrey@grsm.com
                                                     Attorneys for Defendant, Waste
                                                     Connections of Tennessee, Inc.

                CERTIFICATE OF COUNSEL UNDER LOCAL RULE 7.2

        Pursuant to Local Rule 7.2, I, Nelson Rainey, do hereby certify that I discussed this motion
with opposing counsel Howard Manis on July 21, 2023 by telephone and the Plaintiffs advised
that they opposed all items in this motion.

                                                          /s/ Nelson T. Rainey________________
                                                          Nelson T. Rainey (TN BPR No. 35470)


                                CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing document was served via
CM/ECF on this the 21st day of July, 2023, upon the following:

       Howard B. Manis
       The Cochran Firm Memphis
       One Commerce Square, Suite 1700
       Memphis, Tennessee 38103
       hmanis@cochranfirm.com


       Jeffrey A. Mitchell
       Hugo L. Chanez
       Andy Dupre
       Mitchell Sanchez, LLC
       3850 North Causeway Blvd., Suite 1500
       Metairie, LA 70002
       hchanez@mithcellsanchez.com
       jmitchell@mithcellsanchez.com



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  adupre@mitchellsanchez.com

  Attorneys for Plaintiffs


                                       /s/ Angel T. Davis
                                       Angel T. Davis (TN #040676)




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